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14
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15 Company
16                      UNITED STATES DISTRICT COURT
17                    NORTHERN DISTRICT OF CALIFORNIA
18 IN RE: ROUNDUP PRODUCTS               MDL No. 2741
19 LIABILITY LITIGATION,                 Case No. 3:16-md-02741-VC
20
   Marcus Fitz; Jeffrey Fitz,            MONSANTO COMPANY’S NOTICE OF
21 3:21-cv-03580-VC                      MOTION AND MOTION FOR
                                         SUMMARY JUDGMENT ON
22                                       CAUSATION GROUNDS
23                                       Hearing:
24                                       Date: December 7, 2023
                                         Time: 1:00 p.m.
25                                       Place: Courtroom 4 (Via Zoom)
26
27
28

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 1         TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
 2 RECORD:
 3         PLEASE TAKE NOTICE THAT on December 7, 2023 at 1:00 p.m. in
 4 Courtroom 4 of the United States District Court, Northern District of California,
 5 located at 450 Golden Gate Avenue, San Francisco, CA 94102, or as ordered by the
 6 Court, Defendant Monsanto Company (“Monsanto”) will move this Court for an
 7 order, pursuant to Federal Rule of Civil Procedure 56(c), entering judgment in its
 8 favor and against Wave 6A Plaintiffs Marcus Fitz and Jeffrey Fitz (“Plaintiffs”), on
 9 the grounds that there is no genuine issue of material fact as to any claim for relief
10 brought by Plaintiffs, and Monsanto is entitled to summary judgment.
11
12 Dated: October 20, 2023                  Respectfully submitted,
13
                                            /s/ Jed P. White
14                                              Jed P. White
15                                          Attorney for Defendant Monsanto Company

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                MONSANTO’S NOTICE OF MOTION & MOTION FOR SUMMARY JUDGMENT
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 1                    MEMORANDUM OF POINTS AND AUTHORITIES
 2            To prevail on any of their claims, Plaintiffs Marcus Fitz and Jeffrey Fitz must
 3 prove that Roundup was the proximate cause of Marcus Fitz’s cancer. Whether
 4 Roundup—a chemical compound—is defective, can cause cancer generally, and
 5 whether it actually did cause Marcus Fitz’s cancer specifically, are specialized issues
 6 for which expert testimony is required. Plaintiffs failed to disclose any expert reports
 7 regarding specific causation, which were due June 26, 2023. Without expert testimony
 8 to prove specific causation, none of Plaintiffs’ claims may proceed.
 9                                            BACKGROUND
10            Plaintiffs are residents of New York who alleges that exposure to Monsanto’s
11 Roundup-branded herbicides (“Roundup”) caused Marcus Fitz to develop NHL, with
12 which he was diagnosed in 2006.1 See Complaint. ECF 1, ¶¶ 4, 83-85. Plaintiffs seek
13 to hold Monsanto responsible for Marcus Fitz’s cancer, asserting six causes of action.
14 The lynchpin of Plaintiffs’ complaint is that glyphosate—the active-ingredient in
15 Roundup—caused Marcus Fitz’s cancer. See id. at ¶¶ 1-4.
16            On November 3, 2022, this MDL Court required all Wave 6A plaintiffs,
17 including Plaintiffs in this case, to submit expert reports no later than June 26, 2023.
18 See Order Granting Joint Request for Revised Schedule for Wave 5-6 Cases and
19 Adding Wave 7 Schedule (“Scheduling Order”) (MDL ECF #15506). The expert
20 discovery required by this Order must be accompanied by written reports signed by
21 the experts and must contain “a complete statement of all opinions the witnesses will
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     1
         For cases “filed in, or removed to, federal courts across the country and transferred to the MDL
23 court by the Judicial Panel on Multidistrict Litigation[,] . . . the MDL court must apply the law of
     the transferor forum, that is, the law of the state in which the action was filed, including the transferor
24 forum’s choice-of-law rules.” In re Vioxx Prods. Liab. Litig., 478 F. Supp. 2d 897, 903 (E.D. La.
25 2007). Here, New York is the transferor forum. If a conflict of law exists, New York law states that
     “the law of the jurisdiction where the tort occurred will generally apply” and that the “locus of a tort
26   is generally defined as the place of the injury.” Devore v. Pfizer, Inc., 58 A.D.3d 138, 141-42, 867
     N.Y.S.2d 425 (N.Y. 1st Dep't 2008). However, the Court does not need to decide whether New
27   York or California law applies because under both states’ laws (cited herein), expert testimony is
     required to establish specific causation in this case.
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                               MONSANTO’S MOTION FOR SUMMARY JUDGMENT
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 1 express and the basis and reasons for them,” among other information. Fed. R. Civ.
 2 P. 26(a)(2)(B)(i).
 3          Plaintiffs did not submit an expert report regarding specific causation by the
 4 June 26, 2023 deadline. Specifically, Plaintiffs have not served any expert report
 5 containing case-specific evidence of a causal link between Roundup exposure and
 6 Marcus Fitz’s cancer. (Declaration of Jed White (“White Decl.”), ¶ 3.)
 7                        SUMMARY JUDGMENT STANDARD
 8          Summary judgment is appropriate when there is “no genuine dispute as to any
 9 material fact and the moving party is entitled to judgment as a matter of law.” Fed. R.
10 Civ. P. 56(a). A fact is material when it could affect the outcome of the case, and a
11 dispute about a material fact is genuine “if the evidence is such that a reasonable jury
12 could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc., 477
13 U.S. 242, 248 (1986). The moving party bears the burden of “informing” the Court
14 that there exists the “absence of a genuine issue of material fact.” Celotex Corp. v.
15 Catrett, 477 U.S. 317, 323 (1986). Once the moving party has met this burden, the
16 nonmoving party must come forward with evidence to show there is in fact a genuine
17 issue for trial. Id. at 323-24. A “complete failure of proof concerning an essential
18 element of the nonmoving party’s case” warrants summary judgment and “necessarily
19 renders all other facts immaterial.” Id. at 323.
20                                      ARGUMENT
21 I.       SUMMARY JUDGMENT IS REQUIRED BECAUSE PLAINTIFF
22          LACKS THE REQUIRED ADMISSIBLE EXPERT TESTIMONY ON
23          CAUSATION.
24          Under California and New York law, expert medical testimony is required to
25 establish causation of a specific physical injury if such cause is not within the common
26 knowledge of the jurors. Stephen v. Ford Motor Co., 134 Cal. App. 4th 1363, 1373
27 (2005) (in a product liability case “where the complexity of the causation issue is
28 beyond common experience, expert testimony is required to establish causation”); In
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 1 re Mirena IUD Prods. Liab. Litig., 202 F. Supp. 3d 304, 310-11 (S.D.N.Y. 2016)
 2 (“Generally, in products liability cases, to establish causation, plaintiffs must offer
 3 admissible expert testimony regarding both general causation . . . and specific
 4 causation.”); see also Fitzgerald v. Manning, 679 F.2d 341, 350 (4th Cir. 1982)
 5 (“expert testimony is usually necessary to support the conclusion as to causation”
 6 where the cause of the alleged injury is “determinable only in the light of scientific
 7 knowledge”).
 8         Here, Plaintiffs allege that Marcus Fitz was diagnosed with cancer, which he
 9 claims was caused by his exposure to Roundup. See Compl. ¶¶ 4, 83. “With cancer
10 the question of causation is especially troublesome[;] . . . it is frequently difficult to
11 determine the nature and cause of a particular cancerous growth.” Jones v. Ortho
12 Pharm. Corp., 163 Cal. App. 3d 396, 403 (1985). As a result, “the unknown and
13 mysterious etiology of cancer is beyond the experience of laymen and can only be
14 explained through expert testimony.” Id. (citation and internal quotation marks
15 omitted). Thus, the causal link between Plaintiff’s injury and Roundup is a highly
16 technical question of science that is beyond the jurors’ understanding.
17         Plaintiffs’ deadline to disclose expert reports was June 26, 2023. See
18 Scheduling Order. To date, Plaintiffs have not disclosed a single expert witness or
19 report regarding specific causation. Plaintiffs had ample time and opportunity to
20 satisfy their expert disclosure obligations under Rule 26(a)(2) and the Scheduling
21 Order. And honoring strict deadlines in an MDL is particularly important. See Allen
22 v. Bayer Corp. (In re: Phenylpropanolamine (PPA) Prods. Liab. Litig.), 460 F.3d
23 1217, 1222 (9th Cir. 2006) (affirming dismissal of cases in MDL for failure to comply
24 with case management orders because “multidistrict litigation is different because of
25 the large number of cases that must be coordinated, its greater complexity, and the
26 court’s statutory charge to promote the just and efficient conduct of the actions”).
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                          MONSANTO’S MOTION FOR SUMMARY JUDGMENT
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 1         This Court has granted summary judgment in favor of Monsanto in similar
 2 cases where the plaintiff failed to disclose a specific causation expert, finding that
 3 expert testimony was required to prove causation:
 4
           Expert testimony also is required to establish causation for Matthaus-
 5         Shelton’s other product liability and tort claims. That’s because whether
 6         Roundup caused her multiple myeloma is a highly technical question that
           is not within the common knowledge and experience of an ordinary
 7         layperson.
 8 Matthaus-Shelton v. Monsanto Company, 20-cv-00168, Doc. No. 17 (Order Granting
 9 Summary Judgment, dated November 29, 2022); see also Adrine Hann v. Monsanto
10 Company, 20-cv-7213, Doc. No. 23 (Order Granting Summary Judgment, dated
11 November 3, 2022) (“Whether Roundup caused [Plaintiff’s] multiple myeloma is a
12 highly technical and scientific question. Without expert testimony, a jury can only
13 speculate.”).
14         As a result of Plaintiffs’ failure to disclose any expert on the issue of specific
15 causation, they cannot prove causation—an essential element of all their claims.
16 Without any evidence of case-specific causation, Monsanto is entitled to summary
17 judgment on all Plaintiffs’ claims. See Stephen, 134 Cal. App. 4th at 1373-74
18 (plaintiff’s “inability to present expert testimony was fatal to her product liability and
19 negligence claims, and [thus] nonsuit was proper”); In re Mirena IUD Prods. Liab.
20 Litig., 202 F. Supp. 3d at 311 (S.D.N.Y. 2016) (“summary judgment is appropriate
21 where required expert testimony is absent from the record”); Martinez v. Ethicon Inc.,
22 No. 7:19-CV-00164, 2020 WL 2113638, at *2 (S.D. Tex. May 1, 2020) (“Products
23 liability cases are quintessentially expert cases, and failure to designate experts almost
24 always leads to summary judgment.”); Sterling v. United States, 834 F. App’x 83, 87
25 (5th Cir. 2020) (upholding summary judgment where the plaintiff failed to designate
26 expert witnesses); Cooper v. Smith & Nephew, Inc., 259 F.3d 194, 196-197 (4th Cir.
27 2001) (affirming dismissal of product liability claims where appellant “had no
28 admissible medical evidence indicating that [defendant]’s device was the proximate
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 1 cause of his injuries”); Jones v. Danek Med., Inc., No. Civ. A. 4:96-3323-12, 1999
 2 WL 1133272, at *5 (D.S.C. Oct. 12, 1999) (“There being no expert testimony
 3 regarding causation, summary judgment is granted on the products liability
 4 allegations.”).
 5                                    CONCLUSION
 6        For the foregoing reasons, Monsanto is entitled to summary judgment on all of
 7 Plaintiffs’ claims.
 8
 9 Dated: October 20, 2023                 Respectfully submitted,
10
                                           /s/ Jed P. White
11                                         Jed P. White
12                                         Attorney for Defendant Monsanto Company

13                            CERTIFICATE OF SERVICE
14        I hereby certify that on October 20, 2023, I electronically filed the foregoing
15 with the Clerk of the Court by using the CM/ECF system which will send a notice of
16 electronic filing (NEF) to all counsel of record who are CM/ECF participants.
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                                           /s/ Jed P. White
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                         MONSANTO’S MOTION FOR SUMMARY JUDGMENT
